                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

JOHNNY THOMAS ORTIZ II, JIMMIE                        )
GREGORGY ROGERS, JR. and WELDON                       )
MURPHY,                                               )
                                                      )
                         Plaintiffs,                  )
                                                      )
                         and                          )
                                                      )
Dr. Cornel West, Italo Medelius and North             )
Carolina Justice for All Party,                       )
                                                      )
                         Plaintiff-Intervenors,       )
                                                      )
                                 v.                   )   Case No. 5:24-cv-00420-BO
                                                      )
NORTH CAROLINA STATE BOARD OF                         )   Judge Terrence W. Boyle
ELECTIONS, ALAN HIRSCH, in his official               )
capacity as Chair of the North Carolina State         )
Board of Elections, JEFF CARMON III, in his           )
official capacity as Member of the North Carolina )
State Board of Elections, STACY EGGERS IV,            )
in his official capacity as Member of the North       )
Carolina State Board of Elections, KEVIN N.           )
LEWIS in his official capacity as Member of the       )
North Carolina State Board of Elections,              )
SIOBHAN O’DUFFY MILLEN in her official                )
capacity as Member of the North Carolina State        )
Board of Elections, and KAREN BRINSON BELL, )
in her official capacity as Executive Director of the )
North Carolina State Board of Elections,              )
                                                      )
                         Defendants.                  )


                         COMPLAINT FOR DECLARATORY AND
                          PERMANENT INJUNCTIVE RELIEF

       1.      Plaintiff-Intervenors Dr. Cornel West, Italo Medelius and North Carolina Justice

for All Party (“JFA”) hereby adopt and incorporate by reference each paragraph of Plaintiffs’

Complaint (ECF No. 1).

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       Case 5:24-cv-00420-BO-BM Document 44-1 Filed 07/29/24 Page 1 of 7
                                    INTERVENING PARTIES

       2.      Dr. Cornel West is the Dietrich Bonhoeffer Professor of Philosophy and Christian

Practice at Union Theological Seminary. Dr. West is running for President of the United States in

the 2024 general election with running mate Dr. Melina Abdullah. Dr. West was duly nominated

for that office by JFA. Dr. West seeks to associate with JFA and its voter-supporters, including

by running for President as JFA’s nominee in North Carolina, but he cannot do so because the

North Carolina State Board of Elections (“the Board”) declined to certify JFA as a party. Dr. West

resides in New York, New York.

       3.      Italo Medelius is Chair of JFA. He resides in Durham County, where he intends to

remain and vote in future elections. Medelius seeks to campaign for, speak and associate with,

and vote for JFA’s candidates. Medelius circulated petitions and signed a petition to qualify JFA

as a political party in 2024. Medelius is harmed by the Board’s failure to certify JFA, which

prevents him from campaigning for, associating with and voting for JFA’s candidates, including

Dr. West, and prevents JFA from participating in North Carolina’s electoral process and hinders

its ability to grow and develop as a political party.

       4.      JFA was founded in 2024 by supporters of Dr. West’s campaign for President. JFA

seeks to elect candidates to all levels of public office in North Carolina, but it is presently unable

to place its nominees on the ballot because the Board declined to certify JFA as a political party.

JFA is injured by the Board’s action, which prevents it from participating in North Carolina’s

electoral process and hinders its ability to associate with its supporters, to engage in political

speech and build support among the electorate, and to grow and develop as a political party. JFA

maintains a business address in Durham County, North Carolina.




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       Case 5:24-cv-00420-BO-BM Document 44-1 Filed 07/29/24 Page 2 of 7
                                 FACTUAL ALLEGATIONS

       5.      Plaintiff-Intervenors adopt and incorporate by reference each allegation of fact in

Plaintiffs’ Complaint. (ECF No. 1.) Plaintiff-Intervenors also allege the following facts.

       6.      On June 4, 2024, Mike McCorkle, counsel to the West/Abdullah presidential

campaign, received an email from Candace Marshall, Associate General Counsel to the Board,

requesting to schedule a call and obtain additional information about the West/Abdullah

campaign’s petition drive.

       7.      Mr. McCorkle responded within minutes, stating that “the campaign will offer its

full cooperation to your investigation. Please let me know how you’d like to proceed or what I

might do to help….”

       8.      At Ms. Marshall’s request, Mr. McCorkle scheduled a conference with her and

another Board staffer named Lindsey Wakely. The three held their conference on June 7, 2024.

       9.      On June 10, 2024 and June 11, 2024, Mr. McCorkle emailed Ms. Marshall and Ms.

Wakely to provide additional information and materials they had requested during the conference.

       10.     On June 14, 2024 Mr. McCorkle emailed Ms. Marshall and Ms. Wakely again to

offer additional information from JFA Chair Italo Medelius.

       11.     On June 14, 2024, the Board’s General Counsel asked Mr. Medelius for responses

to the “objections” raised to JFA’s nomination petitions by Clear Choice Action and the North

Carolina Democratic Party.

       12.     On June 19, 2024 Mr. Medelius met with Ms. Marshall, Ms. Wakely, and David

Richards, another employee of the Board, by teleconference. Mr. Medelius voluntarily answered

every question the Board representatives asked and provided all information they requested.




                                                3

       Case 5:24-cv-00420-BO-BM Document 44-1 Filed 07/29/24 Page 3 of 7
       13.     On June 21, 2024, the Board asked Mr. Medelius to testify under oath at its meeting

scheduled for June 26, 2024.

       14.     Mr. Medelius submitted his response to Clear Choice Action’s and the North

Carolina Democratic Party’s objections on June 25, 2024.

       15.     The Board held its hearing on June 26, 2024 and voted not to certify JFA as a new

party, but indicated that it might do so at a later date. The Board indicated during the hearing that

it would waive any applicable filing deadlines as applied to any new party that it might

subsequently vote to certify.

       16.     On June 28, 2024, JFA held its nomination convention and duly nominated Dr.

West and his running mate, Dr. Abdullah, as its candidates for President and Vice President,

respectively. JFA also nominated Frankie Gist as its candidate for mayor of Winston-Salem.

       17.     On July 1, 2024, JFA filed its nomination certifications, confirming that it timely

and duly nominated Dr. West, Dr. Abdullah and Mr. Gist at its convention.

       18.     On July 2, 2024 – the day after the deadline for JFA to certify its candidates – the

Board emailed a subpoena to Mr. McCorkle to demand additional documents and materials. Mr.

McCorkle’s response was due July 9, 2024.

       19.     On or about July 2, 2024, the Board emailed a subpoena to Mr. Medelius to demand

additional documents and materials. Mr. Medelius’s response was due July 9, 2024.

       20.     On July 9, 2024, Mr. McCorkle submitted his response to the subpoena. Although

Mr. McCorkle raised certain objections to the subpoena, he provided all additional information

available to him and documents in the West/Abdullah campaign’s possession that were responsive.




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       Case 5:24-cv-00420-BO-BM Document 44-1 Filed 07/29/24 Page 4 of 7
       21.     On July 9. 2024, Mr. Medelius submitted his response to the subpoena. Although

Mr. Medelius raised certain objections to the subpoena, he provided all additional information

available to him and documents in JFA’s possession that were responsive.

       22.     On July 9, 2024, the Board met again and again declined to certify JFA as a party.

The Board reiterated that it would waive any applicable filing deadlines as applied to any new

party that it might subsequently vote to certify.

       23.     On July 16, 2024, the Board met again and again declined to certify JFA as a party

– this time, apparently, entering a final decision in the matter.

                     CAUSES OF ACTION AND PRAYER FOR RELIEF

       24.     Plaintiff-Intervenors adopt and incorporate by reference Count I and Count II of

Plaintiffs’ Complaint.

       25.     Plaintiff-Intervenors adopt and incorporate by reference the Prayer for Relief of

Plaintiff’s Complaint, including their request for an award of litigation costs and attorney’s fees

pursuant to 42 U.S.C. § 1988 and their request that this Court retain jurisdiction over this action

and grant Plaintiff-Intervenors any further relief which may in the discretion of the Court be

necessary and proper.



Dated: July 29, 2024                                    Respectfully submitted,

                                                        /s/Christopher R Lusby
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       Case 5:24-cv-00420-BO-BM Document 44-1 Filed 07/29/24 Page 5 of 7
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                                    *Local Civil Rule 83.1(d) Counsel




                                6

Case 5:24-cv-00420-BO-BM Document 44-1 Filed 07/29/24 Page 6 of 7
                               CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2022 the foregoing document was filed using the Court’s

CM/ECF system, which will effect service upon all counsel of record.


                                                   /s/Christopher Lusby
                                                   Christopher Lusby

                                                   Counsel for Plaintiff-Intervenors




                                               7

      Case 5:24-cv-00420-BO-BM Document 44-1 Filed 07/29/24 Page 7 of 7
